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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

                                                :
Katherine Rossi,                                :
                                                :
                                                : Civil Action No.: 2:15-cv-03809-ER
                      Plaintiff,                :
       v.                                       :
                                                :
Walgreen Co.,                                   :
                                                :
                      Defendant.                :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       Katherine Rossi (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: December 22, 2015

                                                 Respectfully submitted,

                                                 PLAINTIFF, Katherine Rossi

                                                 /s/ Jody B. Burton

                                                 Jody B. Burton, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2015, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court for the Eastern District
of Pennsylvania Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Jody B. Burton_________

                                                  Jody B. Burton
